
362 S.W.3d 487 (2012)
In the Interest of: A.D.R. and C.L.R.
No. ED 96855.
Missouri Court of Appeals, Eastern District, Division Four.
March 20, 2012.
Christopher M. Braeske Saint Louis, MO, for appellant.
Chris Koster, Attorney General Gary L. Gardner, Assistant Attorney General, Jefferson City, MO, for respondent.
Before PATRICIA L. COHEN, P.J., GLENN A. NORTON, J. and ROBERT M. CLAYTON III, J.

ORDER
PER CURIAM.
L.R. ("Mother") appeals the judgment terminating her parental rights to A.D.R. and C.L.R. ("Children"). We find that the *488 trial court did not abuse its discretion in denying Mother's motion to continue. We also find that the trial court did not err in finding statutory grounds for termination existed under section 211.447.5(6) RSMo Supp.2011. Finally, we find that the trial court did not abuse its discretion in finding that termination was in the best interests of Children.
An extended opinion would have no precedential value. We have, however, provided the parties a memorandum setting forth the reasons for our decision. The judgment of the trial court is affirmed under Rule 84.16(b).
